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                    Exhibit 18
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  STATEMENT OF Alyssa FALTYSEK               TAKEN ATi FSGA                     DATED: l0 Jul   12
  9. STATEMENT (Cont inued)

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$d': FALTYSEK
  Q: Did  you  hand write the above narrative in your own'words?
  A: Yes.
  Q: Do you know Samantha COX?
  A: The n rme sounds farniliar, but I'm not sure.
  Q: I understacd she is a civilian and has no military affiliation. Do you know if he was involved with a girl
  outside of the military?
  A: I know be was talking to a girl by the name of Samanth4 and SGT AGUIOU did not like it.
  Q: Was this while he was at FSGA?
  A: Yes.
  Q: Did PVT AGTIIGUI express to you wtrile at AIT wby he thought his wife was unfaithful?
  A: The biggest reason was because he noticed a sexual interest in her had changed.
  Q: Explair please.
  A: She was deployed while we were at AIT, and was redeployed because she broke her leg, She was a linguist
  aad something happed outside the wire and she jumped out of the vehicle and broke her leg. Or something
  close to that. He was able to go from basic training to Chrishas Exodus then right to AIT. While he was home
  on Exodus, SCT AGLIIGUI was home too. He noticed that her sexual interests had changed" in that she was
  more interested in sexual things'that she was never had been before. PVT ACUIGIII thougbt that it was
  because she was having an affair with another guy down range. Apparently this guy was op€n with his
  sexuality and PVT AGUIGru assumed they were having an affair.
  Q: Do you know who the guy was?
  A: No.
  Q:-Was SGT AGLIGUI ever pregnant other than the pregnancy you two shared at the same time?
  A: No. In fact she had a hard time getting pregnant. I ra-member in December sbe was gathering paperwork to
  go offpost to a fertility doctor.
  Q: So January was when SGT AGLJIGUI kicked her husband out of the house?
  A: Yes.
  Q: Did SGT AGLIGUI ever walk in on PVT AGLJIGUI with another woman?
  A: No. If she did she never told me about it. Her sex life was something she was very closed about.
  Q: On that note, did she discuss any sexual activities with her or anyone else?
  A: The only time she only ever talked about it was when me and my husband were helping her clean her house
  and we found a few sex toys. She became embarrasseil and walked out. But we all laugbed about it later on.
  Q: Did she discuss any t)?e of bondage or handcuffs or leg restraints etc?
  A: Those were some of the toys we found.
  Q: Where were ihe handcuffs wheu you saw them?
  A: The master bedroom on the ground near the left side in a box or bucket.
  Q: What about other restraints?
  A: Same location.
  Q: Did you witness any restraints under the bed or afExed to the bed?
  A: No.
  Q: Did SGT AGITIGUI keep a clean house or disorderly one?
  A: She generally kept a clean house, but when SCHAEI?ER started coming over it became out of hand. If
  anything she would try to keep the kitchen, living room and batbrooms clean because that was where everyooe

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STATEMENT OF Alyssa    FALTYSEK
9. STATEMENT (Contirued)
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Q: How about her bed, was it usually made?
A: It was usually unmade and &e pillows were on it. Every once in a while you would       see a cat or the cat's   toy.
Q: How about the widows or the blhds inside the bedroom?
A: She always had the drawn down and &e curtains partially closed.
Q: In the master bedroom?
A: Yes. I remember because they were blue shear, like you could see through them but they were not lace.
Q: When was the last time you saw those?
A: She was still pregnant. I think Isaac was somewhere. Me and SGT AGLIGUI went into the bedroom and
talked because she was afraid Isaac was doing drugs again. This was after she let him back in the house. I
would say June 201l. I remember because we botb fell. asleep on the bed after talking.
Q: Wbat about the blinds in the living room?
A: She usuatly had them draw up slightly for the cat to sit.
Q: Do you recall a lamp in the comer near the couch?
A: Yes.
Q: Was it always upright or leaning?
A: It was always uprighL which was where she kept all the spare pillows for the pull out bed.
Q: Where tbe cats rowdy?
A: My cat was because he was a wild cat.
Q: Did he disturb the blinds?
A: My cat liked to bat at them but never pull them down.
Q: Did you see your cat do this at the AGLTIGUI's house?
A: Usually what they tried to do was keep my cat in the spare be&oom because there cat didn't like my cat.
There cat was very calm.
Q: Where you aware that SGT AGUIGUI had any me<iical conditions?
A: I know she was slighfly anemic and diabetic because of the pregnancy.
Q: Did she tell you what her symptoms were?
A: She said she was tired all of the time, more than usual. I told her to go get her iron check because I am
aaemic myself. She did get it check and she was advised by her doctor to take iron supplement. She said she
did not want to take medication, and would rather eat spinach or broccoli.
Q: Was she health conscious or not?
A: She was a little bit. But not to the point she was over the top. If she ate chunk food she would only eat it in
moderation.
Q: Did she hate banana?
A:'No! She loved them and I would always see her with one during meals. Bananas and yogurt she loved as a
saack.
Q: Any allergies?
A: Not that I know of.
Q: Did she ever tell you she passed out in the house or.the commiss2ry?
A: No.
Q: She ever complain about her leg?
A: She did have leg cramps all of the time, and that was another reason she ate bananas was because of the
potssSirrm.


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STATEMENT OF Alyssa FALTYSEK                TAKEN AT: FSGA                       DATED: l0Jul   12
9. STATEMENT   (Contirued)                             t
Q:Didsheevertellyoushewasdeficientinpotassium? 0 27 9 - 1 1 - C I D 0 9 3 - 4 ? t q I
A: No. She just knew it helped with leg cramps.
Q: Did she ever tell you she wanted to take potassium iodide?
A: No she hated taking medication. She only took Tylenol PM and her prenatal because she had to.
Q: \[/hy did she hate SCHAEFER?                         '..
A: He's a rude sexist pig. He was very rude to her, he uied to convince the baby was not Isaac's. He kept
t"llr.og her that once she had &e baby she could start right away and have another one. She was not interested in
that. Hc convinced Isaac that if she wns not interested in having more kids than the baby was not his. He
actually had Isaac convinced the baby was not his.
Q: Did PVT AGUIGLTI tell you he didn't think it was his?
A: He asked us if his wife had anyone over other than us. Just asking if she was cheating on him. PVT
SCHAEFER was rude and inconsiderate. PVT SCHAEFER ordered her around her own house telling her he
needed to make dinner for him and Isaac or brealdast. She needed to clean the house. He slowly took to over
the house.
Q: Was SCHAEFER living there?
A: Pretty much. He was always over there. And when she let Isaac back in and then thought he was doing
dru3s agah he would always have to leave the house aiter a phone catl. SCHAEFER would go with him. They
told us &ey were investigating a case with CID.
Q: Did you guys believe thatf
A: At that point we didn't know what to believe from them.
Q: How was PVT AGLJIGUI to his wife?
A: At first he was really sweet to her, but the more he liung out with PVT SCHAEFER he became more rude,
inconsiderate and mean.
Q: Any drugs in the house?
A: Spice. lsaac and SCHAEFER always smoked in thehouse. Almost every night. I do remember SGT
AGUIGUI taking a couple of hits. I never saw it effect her. After halfir,ay through her pregnancy I remember
her telling him to smoke it outside because she hated the smell.
Q: Did SGT AGUIGUI smoke or drink?
A: She had a couple of hits offmy cigarette once in a while, and would dri* red wine every once in a ufrile
too.
Q: When was the last time you saw her smoke Spice?
A: She was probably four and a half moatbs along, so around May or June time frame.
Q: Did she sleep on the couch or have a certain spot she usually sat?
A: She did take naps on the couch and liked laying on it because it helped her back from the pregnancy.
Q: When was tbe last trme you were at their residence?
A: The day before we left, around the th of July. We dropped offour cat and the cat lifter, stayed for a while.
Then we (me, my husband and SGT AGLIIGLII) went to eat at the Hibachi Buffet She had raw sushi, like three
pieces. Then we &opped her offand stayed a while louger then left. The next day I left for Texas.
Q: Can you remember the sushi?
A: I don't eat sushi so no.
Q: How do you know it was raw?
A: The color.
Q: Was it shrimp or crab or fish?
A: I don't know. I do know she would eat shrimp every once in a while. She had a bag in the freezer. She

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 STATEMENT OF Alyssa FALTYSEK                TAKENAT: FSGA                       DATED: l0 Jul   12
 9. STATEMENT    (Co*irued)                          I

 liked making fetuccini al&edo with sb:imp and broccoii. .O 2 7 9 - .l t
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 Q: Do you know what side of the bed SGT AGLTIGUI slept on?
 A: The one closest to the door, and Isaac slept near the window.
 Q: Who primarily used the computer in the living room?
 A: Isaac mostly. He would look up porn and music. I know SCHAEFER used it too.
 Q: Did you ever witness marks on SGT AGITIGLJI,s wrists?
 A: We asked ber were they came from and she would ju:st blush.
 Q: Explain what they looked like?
 A: They looked like haodcuffmarks.
 Q: How did they look?
 A: Just a small slight bruise. Never deep purple or bloriCy. Just a small mark.
 Q: Did she ever tell you what they were?
 A: No she just blushed.
 Q: What do you think she mean?
 A: When we noticed stufflike that she would get really shy. We figued it was from sexual activity.
 Q: Did she ever file a Restricted Sexual Assault?
A: No. Not &at I'm aware of.
Q: I allowed yo'u to review photograpbs of SGT AGI^JIGUI's unists and their injuries. Were these consistent
with what you witnessed?
A: No. It was never to that degree. Not even close.
Q: When you saw these photos tell me what you thought?
A: I've never seen her that beat up. I've seen here in her bathing suit during pregnancy pt and never witnessed
bruises like that on her anns or wrists.
Q: Did SGT AGLIIGUI ever tell you her husband s0uck her?
A: No. However, there was one time that my husband and I were there and Isaac and Deirdre got in atr
argument. Isaac raised his hand and before he hit her my husband got and grabbed him by the back of the shirt
and threw him against the wall. SCHAEFER was theretoo, and he tied to get my husband offof Isaac, so my
husband was holding both Isaac and SCHAEFER.
Q: What was &e argument about?
A: After the incident we kind of black out. We don't play that game so we dido't even bother finding out.
Q: What did PVT AGUIGUI do after that?
A: He was terrified. He then went on the porch to smoke. I told Deirdre get beside be by the couch.
Q: When was this?
A: June maybe July.
Q: Did SGT AGLIGLJI talk about PVT AGLIGLII being kicked ox of the Army and taking employment
somewhere else?
A: They talked about it all of the trme. That was the re&son he wanted to open up his own security agency. He
had been talking about doing that since AIT. It was just ss6sthing he was interested in. I understood was
being kicked out for drugs.
Q: What did SGT AGLJIGLn think of the security business?
A: She supported him 100%.
Q: Do you know anything about West Poht?
A: I know they got kicked out for sexual coilact between the two.


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STATEMENT OF Alyssa FALTYSEK                TAKEN AT: FSGA
9. STATEMENT (Continued)
 Q: Do you know about FEAR?                            .: 0?t -t t -9           C  tD0   9 S 4A-       l4    J
A: Never heard of it.
                                                                                                         join or
Q: Did PVT AGLIGUI ever tell you about any extremist organizatioDs or gangs or groups he wanted to
be a part of?                                           i
A: Wait. I think that was the abbreviation for his security company. Yes. [n fact that was the shirt Isaac and
 SCHAEFER wore every t'me they were security jobs"around hotels and malls. Every t'me they went out on a
job they wore that shirt.
Q: What did it look like?
A: It was gray t-shirt. Just ordinary.
 Q: Do you know what it stood for?
 A: No.
                            you?
Q: Did he ever try to recruit                            .

 A: He tied to recruit my husband. Isaac said they wanted my husband to help during a small concert. My
husband stated he would think about it, but they never lbllowed through.
 Q: Did they work at hotels?
A: I don't know. I never went with them.
 Q: Did SGT AGUIGUI know about this?
 A: We all thougbt it was legit, that he was pulling guard somewhere.
 Q: What about PVT AGUIGUI's interest in weapons?
 A: He loved collecting weapots. Most of &em were in Seattle wi& his family.
 Q: Do you know what kind they had?
 A: No. She liked handguns, he like rifles.
 Q: Do you know PVT SALMON?
A: Not sure.
Q: Did SGT AGIIIGUI discuss any depression with yorr?
A: No.
Q: I just showed you a picture of &eir bedroom the nigirt of the incident. Did anything stick out
                                                                                                  in yotr mind?
A: The window blirlds are disnnbed" The pillows were nonnally at the head of the bed. The fitted sheet was up
on her side. The leg braces I've never seen on the bed, but I do remember seeing clips on her side of &e bed in
between the mattress and box spring. I would assurDe those were the resraints. The curtains are not on the
window either or the bar to hold them up. Isaac's side irad a bowl, and she never allowed any eating in the
room unless he was in trouble. If she didn't want to see him she would let him eat in the bedroom. The clothes
on the floor near her closet was normal.
Q: Did PVT AGLIIGUI ever cook for her, or was he known to cook for her?
A: He would barbeque or make fast food stuff. She was the one that made dinners.
Q: A review of SGT AGLJIGLTI's cell phone revealed a picture of a cat. Do you know about this?
A: Yes. She sent the picture to me ofmy cat when I waJgoing to Texas. This was the 156 of Jul.
Q: The dog they were babysitting, did it scratch at the porch door often?
A: When he was outside too long. Isaac would just ka.,p him outside. Isaac wanted the dog outside all of the
time.
Q: Do you have anything else to add !o this statement:
A: No.///END OF STATEI,/Fjsrliz
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STATEMENT OF Alyssa FALTYSEK              TAKEN AT.FSGA                            DATED: l0Jul                12
9. STATEMENT (Coruirued)




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I, Alvssa FALTYSEK H.AVE READ OR HAVE HAD READ'fO ME THIS STATEMENT WHICH BEGINS ON PAGE I
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                        . I R,LLY I.JNDERSTAND THE CONTENTS OF THE ENTTRE STATEMENT MADE BY ME.
THE STATEME}.IT s  Th.Ue.  I HAvE IMTIALED ALL CORRECTIONS AND HAVE IMTIALED THE BOTTOM OF
EACH    PAGE CONTAINING  THE  STATEMENT. I HAVE tvlADE THIS STATEMENT FREELY WITHOUT HOPE OF
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                                                     Subscribed and swom to before me, a person authorized by law
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